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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 ---------------------------------------------------------------x
CHRISTOPHER E. BROWN,                                          :
an individual,                                                 :
                                                               :
                  Plaintiff,                                   :
vs.                                                            :
                                                               :     Case No. 2:20-cv-04055-DG-ST
KBNYC, LLC,                                                    :
a New York Limited Liability Company,                          :
                                                               :
                  Defendant.                                   :
----------------------------------------------------------------x


                 NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

        Plaintiff, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, hereby

voluntarily dismisses this action with prejudice.

Dated: March 10, 2021

                                                              Respectfully submitted,


                                                     By: /s/ Louis I. Mussman
                                                             Louis I. Mussman (5536685)
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                                                              and

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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 10th day of March, 2021, a true and correct copy of

the foregoing has been furnished by U.S. mail to the following:

KBNYC, LLC
By Serving Registered Agent:
United States Corporation Agents, Inc.
7014 13th Avenue, Suite 202
Brooklyn, NY 11228

Fred L. Seeman, Esq.
Law Offices Of Fred L. Seeman
32 Broadway, Suite 1214
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                                            By: /s/ Louis I. Mussman
                                                    Louis I. Mussman (5536685)




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